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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


EMPLOYERS INSURANCE COMPANY                       )
OF WAUSAU, as subrogee of                         )
A-Z LRC I, LLC.,                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               )
                                                  )          No.
DAN WALKER ASSOCIATES, INC.,                      )
A&T BUILDERS, LLC.,                               )
STABILITY ENGINEERING, LLC,                       )
PIERRE COIRON, TIMBER                             )
STEEL, LLC., and                                  )
GEOTECHNOLOGY, LLC                                )
                                                  )
       Defendants.                                )


                                          COMPLAINT


       Plaintiff EMPLOYERS INSURANCE COMPANY OF WAUSAU, as subrogee of A-Z

LRC I, LLC., by and through its counsel, files this Complaint and Demand for Jury Trial against

Defendants Dan Walker Associates, Inc., A&T Builders, LLC, Stability Engineering, LLC, Pierre

Coiron, Timber Steel, LLC and Geotechnology, LLC., and alleges the following:

                                         THE PARTIES

       1.      Plaintiff EMPLOYERS INSURANCE COMPANY OF WAUSAU (hereinafter

referred to as “Employers”) is a corporation duly organized and existing under the laws of the State

of Wisconsin, having its principal place of business at 175 Berkeley Street, Boston, Massachusetts.

Employers is in the business of writing property and casualty insurance coverage, including
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property loss coverage, and is duly licensed and authorized to conduct business in the State of

Tennessee.

        2.      Plaintiff’s subrogor, A-Z LRC I, LLC (hereinafter referred to as “A-Z LRC”) is a

limited liability company organized and existing under the laws of the State of Missouri, engaged

in the ownership and management of commercial properties. At all relevant times, A-Z LRC was

authorized to conduct business in Tennessee.

        3.      At all relevant times, Employers provided property insurance coverage to A-Z LRC

against claims arising from certain perils and damages and under which said insurance policy was

in full force and effect.

        4.      Defendant Dan Walker Associates, Inc. (“Dan Walker”) is a corporation organized

and existing under the laws of the State of Tennessee with its principal place of business located

at 3891 Forest Hill Irene Road, Memphis, Tennessee 38125. At all relevant times herein, Dan

Walker was engaged in the business of, among other things, the commercial contracting and

roofing business. Dan Walker may be served with process by serving its registered agent at: Robert

D. Walker, 3891 Forest Hill Irene Road, Memphis, Tennessee 38125.

        5.      Defendant A&T Builders, LLC. (“A&T Builders”) is a corporation organized and

existing under the laws of the State of Arkansas with its principal place of business located at 211

Pinetrail Higden, Arkansas 72067. At all relevant times herein, A&T Builders was engaged in the

business of, among other things, the general contracting and roofing business. A&T Builders may

be served with process by serving its registered agent at: Amanda Rodgers, 211 Pine Trail, Higden,

Arkansas 72067.

        6.      Defendant Stability Engineering, LLC is a Georgia limited liability company with

its principal place of business located at 1376 Church Street, Suite 200, Decatur, GA, 30030. At



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all times relevant to the allegations contained herein, Stability Engineering conducted business in

the State of Tennessee as a professional engineering firm providing professional engineering

services. Defendants Stability Engineering may be served with process by serving its registered

agent at: Pierre Coiron at 1376 Church Street, Suite 200, Decatur, GA, 30030.

       7.      Defendant Pierre Coiron (“Coiron”) is a licensed professional engineer and is the

principal and founder of Defendant Stability Engineering. Mr. Coiron is a North Carolina resident

with a principal place of business at 1942 Scott Avenue, Charlotte NC 28203. At all times relevant

to the allegations contained herein, Coiron was in the business of engaging in the practice of

professional engineering providing professional engineering services in the State of Tennessee.

Defendant Coiron may be served with process by serving him at 1942 Scott Avenue, Charlotte,

NC 28203.

       8.      Defendant Timber Steel. LLC (“Timber Steel”) is a Mississippi limited liability

company with its principal place of business located at 2977 Brassfield Road, Ecru, Mississippi

38841. At all relevant times herein, Timber Steel was engaged in the business of, among other

things, metal building detailing and steel erection. Timber Steel may be served with process by

serving its registered agent at: United States Corporation Agents, Inc., 4780 I-55 N, Suite 100,

Jackson, Mississippi 39211.

       9.      Defendant Geotechnology, LLC (“Geotechnology”) is a limited liability company

with its principal place of business located at 11816 Lackland Rd, Suite 150, Saint Louis, Missouri

63146. At all times relevant to the allegations contained herein, Geotechnology conducted business

in the State of Tennessee as a professional engineering firm providing professional engineering

services. Defendants Geotechnology may be served with process by serving its registered agent at:

CT Corporation System, 300 Montvue Road, Knoxville, Tennessee 37919.



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                                 JURISDICTION AND VENUE

         10.   Original jurisdiction of this Court exists pursuant to 28 U.S.C. §1332 because there

is complete diversity of citizenship between Plaintiff and Defendant and the amount in controversy

exceeds $75,000.00 exclusive of interest and costs.

         11.   Venue is proper in this Court pursuant to 28 U.S.C. §1391 in that a substantial part

of the events and/or omissions giving rise to the claim occurred within this District.

                 FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         12.   The building at 7625 Appling Center Drive # 12, Memphis, Tennessee is a single-

story concrete and steel framed structure over a concrete slab on grade foundation

         13.   In 2018, during inclement weather, the TPO roof at the southwest corner of the

building partially collapsed.

         14.   On or about June 24, 2019, Appling Center Investors LLC entered into a contract

with Defendant Dan Walker wherein Dan Walker agreed to, among other things, repair portions

of the roof on the commercial building at 7625 Appling Center Drive #12, Memphis, Tennessee

38133.

         15.   The roof repairs were substantially completed by Dan Walker and its subcontractors

on or about April 6, 2020.

         16.   On or about January 9, 2020, Dan Walker retained A&T Builders to perform as a

roofing contractor to repair the partially collapse roof.

         17.   Upon information and belief, A&T Builders retained Timber Steel to perform as a

steel erection contractor to repair the partially collapsed roof.




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       18.     Upon information and belief, Dan Walker retained Stability Engineering and

Mr. Coiron to serve as structural engineers who provided structural engineering design services in

conjunction with the repairs of the partially collapsed roof.

       19.     Upon information and belief, Dan Walker retained Geotechnology to provide

engineering design services and inspection of welds and connections in conjunction with the

repairs of the partially collapsed roof.

       20.     Dan Walker repaired the roof damage and issued a warranty on the full performance

of its work and the work of its subcontractors for the project from April 6, 2020, to April 6, 2021.

       21.     In and around July 2020, A-Z LRC bought the building from Appling Center

Investors.

       22.     On July 24, 2020, Dan Walker issued a warranty transfer letter to Appling Center

Investors and A-Z LRC transferring the warranty performed at the Appling Vanilla Box Project

from Appling Center Investors to A-Z LRC. The warranty period was from April 6, 2020, to

April 6, 2021. A copy of the Dan Walker Warranty Transfer letter is attached as Exhibit 1.

       23.     On February 28, 2021, during inclement weather, the roof repaired by the

Defendants partially collapsed in the southwest corner of the building, in the same area where the

prior collapse occurred and was repaired by Defendants.

       24.     The partial roof collapse occurred because the roof at the southwest corner of the

building was improperly repaired by Defendants and its subcontractors.

       25.     As a direct and proximate result of the roof collapse and associated damages to the

building, roof, electrical system, extra expenses and business interests, A-Z LRC sustained losses

in an amount in excess of One Million Six Hundred Thousand Dollars ($1,600,000.00).




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        26.     As a direct and proximate result of the roof collapse and resulting damage to A-Z

LRC property, Employers paid A-Z LRC an amount in excess of $1,600,000.00 pursuant to policy

provisions.

        27.     As a result of its payments, Plaintiff is subrogated to the rights of A-Z LRC to

recover damages from third persons to the extent of its payments to A-Z LRC.

        28.     The acts and omissions of Defendants, and their employees, servants, agents and/or

subcontractors, directly and proximately caused the damages which Plaintiff has suffered.

Accordingly, Defendants are liable to Plaintiff for the previously described damages.

                          COUNT I – BREACH OF EXPRESS WARRANTY
                                 PLAINTIFF v. DAN WALKER

        29.     Plaintiff hereby incorporates and realleges by reference paragraphs 1 through 28 as

if fully stated herein.

        30.     Via the warranty transfer, Defendant Dan Walker represented itself as having

superior knowledge and skill with respect to the installation of commercial roofs.

        31.     Via the warranty transfer, A-Z LRC relied on Defendant Dan Walker’s skill,

knowledge and judgment in the repair of the roof for the building.

        32.     Defendant Dan Walker expressly warranted that it and its subcontractors performed

their work in a good and workmanlike manner according to existing standards of construction and

roofing in the area in which the roof was repaired and that the repair methods and materials used

would be sound.

        33.     Plaintiff’s insured A-Z LRC relied upon Defendant Dan Walker’s express

warranties.

        34.     Plaintiff timely notified Dan Walker of the partial roof collapse and made claim to

Dan Walker under the aforementioned warranty.

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        35.       To date, Dan Walker has failed or refused to honor the warranty.

        36.       As a direct and proximate result of Defendant Dan Walker’s breach of express

warranty of workmanship and materials, Plaintiff suffered damages as described herein.

        WHEREFORE, Plaintiff demands judgment against Defendant Dan Walker in an amount

in excess of $1,600,000.00 according to proof, together with prejudgment interest, as allowed by

law, the costs of this action, and such other relief as this Court deems just and proper.

                                    COUNT II – NEGLIGENCE
                                   PLAINTIFF v. DAN WALKER

        37.       Plaintiff hereby incorporates and realleges by reference paragraphs 1 through 28 as

if fully stated herein.

        38.       Defendant Dan Walker had a duty to exercise reasonable care in its roof repair and

replacement work and in its selection and supervision of other persons and contractors engaged to

perform the repair and replacement of the structure for the roof system for the building.

        39.       Defendant Dan Walker had a non-delegable duty to ensure that the design,

construction and installation of the structure for the roofing system for the building was performed

with reasonable care and in a good and workmanlike manner.

        40.       As a direct and proximate result of Defendant Dan Walker’s negligence,

carelessness, and negligent omissions, Plaintiff suffered damage to its business property and

business interests. The Defendant’s negligence, carelessness, and negligent omissions consisted,

inter alia, of:

                  a.      failing to use reasonable care to ensure that the roofing work was properly
                          performed in a good and workmanlike manner;

                  b.      failing to use reasonable care in the supervision of the design, construction
                          and installation of the structure for the roofing system;

                  c.      failing to ensure that the design, construction and installation of the
                          structure of the roof system was performed in accordance with the

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                        applicable building and plumbing (s) and industry standards, including the
                        2012 and 2015 International Building Code, Chapter 22.05.1, including
                        AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC and
                        602.1, 606.1, and 606.2.1 of the IEBC;

                d.      failing to properly inspect, design, test, and/or repair the roofing system;

                e.      failing to ensure that the building would be safe from an unreasonable risk
                        of damage due to the failure of the roofing system;

                f.      failing to act as a reasonably prudent roofer, designer and installer of roofing
                        systems;

                g.      failing to warn of the defective nature of the roof;

                h.      negligence per se; and

                i.      otherwise failing to exercise reasonable care in ways which may be
                        disclosed in discovery.

        41.     As a direct and proximate result of Defendant Dan Walker’s negligence as

aforesaid, Plaintiff suffered damages as described herein.

        WHEREFORE, Plaintiff demands judgment against Defendant Dan Walker in an amount

in excess of $1,600,000.00 according to proof, together with prejudgment interest, as allowed by

law, the costs of this action, and such other relief as this Court deems just and proper.

                             COUNT III – NEGLIGENCE PER SE
                               PLAINTIFF v. DAN WALKER

        42.     Plaintiff hereby incorporates and re-alleges by reference paragraphs 1 through 28

as if fully stated herein.

        43.     Defendant’s repair of the roof was regulated by the State of Tennessee and through

the adoption and enforcement of the 2012 International Building Code (“IBC”) and the 2012

International Existing Building Code (“IEBC”).            The Shelby County, Tennessee Code of

Ordinances and the Code of Ordinances of Memphis, Tennessee adopted the listed codes as the

2015 IBC and the 2015 IEBC.



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        44.     The 2012 International Building Code and 2012 International Existing Building

Code were enacted to protect a class of persons which included Plaintiff’s insured A-Z LRC.

        45.     The 2015 International Building Code and 2015 International Existing Building

Code were enacted to protect a class of persons which included Plaintiff’s insured A-Z LRC.

        46.     The International Building Code and International Existing Building Code are

public safety statutes which thereby create independent duties owed to the general public including

Plaintiff’s insured A-Z LRC.

        47.     Defendant violated the International Building Code and International Existing

Building Code by, inter alia, improperly splicing steel beam connections. Defendant failed to

meet the requirements of AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC,

Chapter 22.05.1 and 602.1, 606.1, and 606.2.1 of the IEBC.              Consequently, Defendant’s

negligence constitutes negligence per se.

        48.     As a direct and proximate result of the Defendant’s negligence per se, Plaintiff has

suffered the previously described damages.

        WHEREFORE, Plaintiff demands judgment against Defendant Dan Walker in an amount

in excess of $1,600,000.00 according to proof, together with prejudgment interest, as allowed by

law, the costs of this action, and such other relief as this Court deems just and proper.

                                 COUNT IV – NEGLIGENCE
                                PLAINTIFF v. A&T BUILDERS

        49.     Plaintiff hereby incorporates and realleges by reference paragraphs 1 through 28 as

if fully stated herein.

        50.     Defendant A&T Builders had a duty to exercise reasonable care in its roof repair

and replacement work and in its selection and supervision of other persons and contractors engaged

to perform the repair and replacement of the structure for the roof system for the building.

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        51.       Defendant A&T Builders had a non-delegable duty to ensure that the design,

construction and installation of the structure for the roofing system for the building was performed

with reasonable care and in a good and workmanlike manner.

        52.       As a direct and proximate result of Defendant A&T Builder’s negligence,

carelessness, and negligent omissions, Plaintiff suffered damage to its business property and

business interests. The Defendant’s negligence, carelessness, and negligent omissions consisted,

inter alia, of:

                  a.    failing to use reasonable care to ensure that the roofing work was properly
                        performed in a good and workmanlike manner;

                  b.    failing to use reasonable care in the supervision of the design, construction
                        and installation of the structure for the roofing system;

                  c.    failing to ensure that the design, construction and installation of the
                        structure of the roof system was performed in accordance with the
                        applicable building and plumbing (s) and industry standards, including the
                        2012 and 2015 International Building Code, Chapter 22.05.1, including
                        AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC and
                        602.1, 606.1, and 606.2.1 of the IEBC;

                  d.    failing to properly inspect, design, test, and/or repair the roofing system;

                  e.    failing to ensure that the building would be safe from an unreasonable risk
                        of damage due to the failure of the roofing system;

                  f.    failing to act as a reasonably prudent roofer, designer and installer of roofing
                        systems;

                  g.    failing to warn of the defective nature of the roof;

                  h.    negligence per se; and

                  i.    otherwise failing to exercise reasonable care in ways which may be
                        disclosed in discovery.

        53.       As a direct and proximate result of Defendant A&T Builder’s negligence as

aforesaid, Plaintiff suffered damages as described herein.




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        WHEREFORE, Plaintiff demands judgment against Defendant A&T Builders in an

amount in excess of $1,600,000.00 according to proof, together with prejudgment interest, as

allowed by law, the costs of this action, and such other relief as this Court deems just and proper.

                             COUNT V – NEGLIGENCE PER SE
                              PLAINTIFF v. A&T BUILDERS

        54.     Plaintiff hereby incorporates and re-alleges by reference paragraphs 1 through 28

as if fully stated herein.

        55.     Defendant’s repair of the roof was regulated by the State of Tennessee and through

the adoption and enforcement of the 2012 International Building Code (“IBC”) and the 2012

International Existing Building Code (“IEBC”).         The Shelby County, Tennessee Code of

Ordinances and the Code of Ordinances of Memphis, Tennessee adopted the listed codes as the

2015 IBC and the 2015 IEBC.

        56.     The 2012 International Building Code and 2012 International Existing Building

Code were enacted to protect a class of persons which included Plaintiff’s insured A-Z LRC.

        57.     The 2015 International Building Code and 2015 International Existing Building

Code were enacted to protect a class of persons which included Plaintiff’s insured A-Z LRC.

        58.     The International Building Code and International Existing Building Code are

public safety statutes which thereby create independent duties owed to the general public including

Plaintiff’s insured A-Z LRC.

        59.     Defendant violated the International Building Code and International Existing

Building Code by, inter alia, improperly splicing steel beam connections. Defendant failed to

meet the requirements of AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC,

Chapter 22.05.1 and 602.1, 606.1, and 606.2.1 of the IEBC.             Consequently, Defendant’s

negligence constitutes negligence per se.

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        60.     As a direct and proximate result of the Defendant’s negligence per se, Plaintiff has

suffered the previously described damages.

        WHEREFORE, Plaintiff demands judgment against Defendant A&T Builders in an

amount in excess of $1,600,000.00 according to proof, together with prejudgment interest, as

allowed by law, the costs of this action, and such other relief as this Court deems just and proper.

                     COUNT VI- PROFESSIONAL NEGLIGENCE
                PLAINTIFF v. STABILITY ENGINEERING AND COIRON

        61.     Plaintiff incorporates by reference paragraphs 1 through 28 of this Complaint, as

fully stated herein.

        62.     At all times relevant hereto, Defendants Stability Engineering and Coiron provided

structural design services in connection with the repair of the partial collapse of the roof at the

warehouse building located at 7625 Appling Center Drive #12, Memphis, Tennessee. In so doing,

Defendants Stability Engineering and Coiron each had a duty to perform their professional

structural design services in a skillful, professional, prudent, workmanlike manner, and to meet the

applicable codes and safety standards and practices for the work.

        63.     Defendants Stability Engineering and Coiron failed to conform to the applicable

professional standard of care required during the design, engineering and construction of the repair

of the roof of the warehouse building in the following ways:

                a.     Failing to properly perform design and engineering services for the repair
                       of the partially collapsed roof at the warehouse building in a skillful,
                       professional, prudent, and workmanlike;

                b.     Violating industry standards, federal, state and/or local ordinances, statutes,
                       and/or codes including violations of the International Building Code and
                       International Existing Building Code by, inter alia, improperly designing
                       steel beam connections; and failing to meet applicable safety standards and
                       practices including the requirements of AISC 360-10M2.4, AISC 360-N5.4,
                       AISC 360-10N5.6, of the IBC, Chapter 22.05.1 and 602.1, 606.1, and
                       606.2.1 of the IEBC;

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                c.      failing to properly inspect, design, test, and/or repair the roofing system;

                d.      failing to ensure that the building would be safe from an unreasonable risk
                        of damage due to the failure of the roofing system;

                e.      failing to act as a reasonably prudent designer of roofing systems;

                f.      failing to warn of the defective nature of the roof; and

                g.      Any other negligent acts and/or omissions which become known during the
                        course of discovery.

        64.     As a direct and proximate result of the professional negligence of Defendants

Stability Engineering and Coiron, Plaintiff has suffered the previously described damages.

                WHEREFORE, Plaintiff demands judgment against Defendants Stability

Engineering and Coiron in an amount in excess of $1,600,000.00 according to proof, together with

prejudgment interest, as allowed by law, the costs of this action, and such other relief as this Court

deems just and proper.

                         COUNT VII – NEGLIGENCE PER SE
                 PLAINTIFF V. STABILITY ENGINEERING AND COIRON

        65.     Plaintiff hereby incorporates and re-alleges by reference paragraphs 1 through 28

as if fully stated herein.

        66.     The design of the repair of the roof performed by Defendants Stability Engineering

and Coiron was regulated by the State of Tennessee and through the adoption and enforcement of

the 2012 International Building Code (“IBC”) and the 2012 International Existing Building Code

(“IEBC”). The Shelby County, Tennessee Code of Ordinances and the Code of Ordinances of

Memphis, Tennessee adopted the listed codes as the 2015 IBC and the 2015 IEBC.

        67.     The 2012 International Building Code and 2012 International Existing Building

Code were enacted to protect a class of persons which includes Plaintiff’s insured A-Z LRC.




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        68.     The 2015 International Building Code and 2015 International Existing Building

Code were enacted to protect a class of persons which includes Plaintiff’s insured A-Z LRC.

        69.     The 2012 and 2015 editions of the International Building Code and International

Existing Building Code are public safety statutes which thereby create independent duties owed to

the general public including Plaintiff’s insured A-Z LRC

        70.     Defendants Stability Engineering and Coiron violated the International Building

Code and International Existing Building Code by, inter alia, improperly designing the steel beam

connections and failing to meet applicable safety standards and practices including the

requirements of AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC, Chapter

22.05.1 and 602.1, 606.1, and 606.2.1 of the IEBC. Consequently, Defendant’s negligence

constitutes negligence per se.

        71.     As a direct and proximate result of the Defendants’ negligence per se, Plaintiff has

suffered the previously described damages.

        WHEREFORE, Plaintiff demands judgment against Defendants Stability Engineering and

Coiron in an amount in excess of $1,600,000.00 according to proof, together with prejudgment

interest, as allowed by law, the costs of this action, and such other relief as this Court deems just

and proper.

                                  COUNT VIII – NEGLIGENCE
                                 PLAINTIFF v. TIMBER STEEL

        72.     Plaintiff hereby incorporates and realleges by reference paragraphs 1 through 28 as

if fully stated herein.

        73.     Defendant Timber Steel had a duty to exercise reasonable care in its roof repair and

replacement work and in its selection and supervision of other persons and contractors engaged to

perform the repair and replacement of the structure for the roof system for the building.

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        74.       Defendant Timber Steel had a non-delegable duty to ensure that the design,

construction and installation of the structure for the roofing system for the building was performed

with reasonable care and in a good and workmanlike manner.

        75.       As a direct and proximate result of Defendant Timber Steel’s negligence,

carelessness, and negligent omissions, Plaintiff suffered damage to its business property and

business interests. The Defendant’s negligence, carelessness, and negligent omissions consisted,

inter alia, of:

                  a.    failing to use reasonable care to ensure that its work on the structure of the
                        roofing system was properly performed in a good and workmanlike manner;

                  b.    failing to use reasonable care in the supervision of the design, construction
                        and installation of the structure for the roofing system;

                  c.    failing to ensure that the design, construction and installation of the
                        structure of the roof system was performed in accordance with the
                        applicable building and plumbing (s) and industry standards, including the
                        2012 and 2015 International Building Code, Chapter 22.05.1, including
                        AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC and
                        602.1, 606.1, and 606.2.1 of the IEBC;

                  d.    failing to properly inspect, design, test, and/or repair the structure of the
                        roofing system;

                  e.    failing to ensure that the building would be safe from an unreasonable risk
                        of damage due to the failure of the structure of the roofing system;

                  f.    failing to act as a reasonably prudent roofer, designer and installer of the
                        structure of the roofing systems;

                  g.    failing to warn of the defective nature of the structure of the roofing system;

                  h.    negligence per se; and

                  i.    otherwise failing to exercise reasonable care in ways which may be
                        disclosed in discovery.

        76.       As a direct and proximate result of Defendant Timber Steel’s negligence as

aforesaid, Plaintiff suffered damages as described herein.

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        WHEREFORE, Plaintiff demands judgment against Defendant Timber Steel in an amount

in excess of $1,600,000.00 according to proof, together with prejudgment interest, as allowed by

law, the costs of this action, and such other relief as this Court deems just and proper.

                             COUNT IX – NEGLIGENCE PER SE
                               PLAINTIFF v. TIMBER STEEL

        77.     Plaintiff hereby incorporates and re-alleges by reference paragraphs 1 through 28

as if fully stated herein.

        78.     Defendant’s repair of the roof and its structure was regulated by the State of

Tennessee and through the adoption and enforcement of the 2012 International Building Code

(“IBC”) and the 2012 International Existing Building Code (“IEBC”). The Shelby County,

Tennessee Code of Ordinances and the Code of Ordinances of Memphis, Tennessee adopted the

listed codes as the 2015 IBC and the 2015 IEBC.

        79.     The 2012 International Building Code and 2012 International Existing Building

Code were enacted to protect a class of persons which included Plaintiff’s insured A-Z LRC.

        80.     The 2015 International Building Code and 2015 International Existing Building

Code were enacted to protect a class of persons which included Plaintiff’s insured A-Z LRC.

        81.     The International Building Code and International Existing Building Code are

public safety statutes which thereby create independent duties owed to the general public including

Plaintiff’s insured A-Z LRC.

        82.     Defendant violated the International Building Code and International Existing

Building Code by, inter alia, improperly splicing steel beam connections. Defendant failed to meet

the requirements of AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC,

Chapter 22.05.1 and 602.1, 606.1, and 606.2.1 of the IEBC.              Consequently, Defendant’s

negligence constitutes negligence per se.

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        83.     As a direct and proximate result of the Defendant’s negligence per se, Plaintiff has

suffered the previously described damages.

        WHEREFORE, Plaintiff demands judgment against Defendant Timber Steel Allen in an

amount in excess of $1,600,000.00 according to proof, together with prejudgment interest, as

allowed by law, the costs of this action, and such other relief as this Court deems just and proper.

                        COUNT VI- PROFESSIONAL NEGLIGENCE
                           PLAINTIFF v. GEOTECHNOLOGY

        84.     Plaintiff incorporates by reference paragraphs 1 through 28 of this Complaint, as

fully stated herein.

        85.     At all times relevant hereto, Defendant Geotechnology provided structural

engineering services in connection with the repair of the partial collapse of the roof at the

warehouse building located at 7625 Appling Center Drive #12, Memphis, Tennessee. In so doing,

Defendant Geotechnology had a duty to perform their professional structural design services in a

skillful, professional, prudent, workmanlike manner, and to meet the applicable codes and safety

standards and practices for the work.

        86.     Defendant Geotechnology failed to conform to the applicable professional standard

of care required during the design, engineering and construction of the repair of the roof of the

warehouse building in the following ways:

                a.     Failing to properly perform engineering services for the repair of the
                       partially collapsed roof at the warehouse building in a skillful, professional,
                       prudent, and workmanlike;

                b.     Violating industry standards, federal, state and/or local ordinances, statutes,
                       and/or codes including violations of the International Building Code and
                       International Existing Building Code by, inter alia, improperly designing
                       steel beam connections; and failing to meet applicable safety standards and
                       practices including the requirements of AISC 360-10M2.4, AISC 360-N5.4,
                       AISC 360-10N5.6, of the IBC, Chapter 22.05.1 and 602.1, 606.1, and
                       606.2.1 of the IEBC;

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                c.      failing to properly inspect, design, test, and/or repair the roofing system;

                d.      failing to ensure that the building would be safe from an unreasonable risk
                        of damage due to the failure of the roofing system;

                e.      failing to act as a reasonably prudent designer and inspector of roofing
                        systems;

                f.      failing to warn of the defective nature of the roof system; and

                g.      Any other negligent acts and/or omissions which become known during the
                        course of discovery.

        87.     As a direct and proximate result of the professional negligence of Defendant

Geotechnology, Plaintiff has suffered the previously described damages.

        WHEREFORE, Plaintiff demands judgment against Defendant Geotechnology in an

amount in excess of $1,600,000.00 according to proof, together with prejudgment interest, as

allowed by law, the costs of this action, and such other relief as this Court deems just and proper.

                             COUNT VII – NEGLIGENCE PER SE
                             PLAINTIFF V. GEOTECHNOLOGY

        88.     Plaintiff hereby incorporates and re-alleges by reference paragraphs 1 through 28

as if fully stated herein.

        89.     The engineering services and inspection of the repair of the roof system performed

by Defendant Geotechnology was regulated by the State of Tennessee and through the adoption

and enforcement of the 2012 International Building Code (“IBC”) and the 2012 International

Existing Building Code (“IEBC”). The Shelby County, Tennessee Code of Ordinances and the

Code of Ordinances of Memphis, Tennessee adopted the listed codes as the 2015 IBC and the 2015

IEBC.

        90.     The 2012 International Building Code and 2012 International Existing Building

Code were enacted to protect a class of persons which includes Plaintiff’s insured A-Z LRC.



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        91.    The 2015 International Building Code and 2015 International Existing Building

Code were enacted to protect a class of persons which includes Plaintiff’s insured A-Z LRC.

        92.    The 2012 and 2015 editions of the International Building Code and International

Existing Building Code are public safety statutes which thereby create independent duties owed to

the general public including Plaintiff’s insured A-Z LRC.

        93.    Defendant Geotechnology violated the International Building Code and

International Existing Building Code by, inter alia, improperly designing the steel beam

connections and failing to meet applicable safety standards and practices including the

requirements of AISC 360-10M2.4, AISC 360-N5.4, AISC 360-10N5.6, of the IBC,

Chapter 22.05.1 and 602.1, 606.1, and 606.2.1 of the IEBC.             Consequently, Defendant’s

negligence constitutes negligence per se.

        94.    As a direct and proximate result of the Defendant’s negligence per se, Plaintiff has

suffered the previously described damages.

        WHEREFORE, Plaintiff demands judgment against Defendant Geotechnology in an

amount in excess of $1,600,000.00 according to proof, together with prejudgment interest, as

allowed by law, the costs of this action, and such other relief as this Court deems just and proper.



        WHEREFORE, PREMISE CONSIDERED, Plaintiff seeks damages against each

Defendant in excess of One Million Six Hundred Thousand Dollars ($1,600,000) and for whatever

further relief to which it may be entitled, including pre- and post-judgment interest and attorney

fees.




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      RESPECTFULLY SUBMITTED this 16th day of August, 2022.



                                        BLACK McLAREN JONES RYLAND &
                                        GRIFFEE, P.C.

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